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 AO 442 (Rev. 11/11) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                 for the
                                                           District of Oregon


                    United States of America
                                 v.                                )
                                                                   )       Case No.    6:19-MJ-    /41.,- M~
                                                                   )
                                                                   )
                                                                   )
                    KELLIE KENT CAMERON
                                                                   )
                              Defendant


                                                     ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be arrested)        KELLIE KENT CAMERON
who is accused of an offense or violation based on the following document filed with the court:

0     Indictment          0    Superseding Indictment     0 Information         0 Superseding Information            ~ Complaint
Cl Probation Violation Petition            0 Supervised Release Violation Petition      0 Violation Notice           O Order of the Court

This offense is briefly described as follows:
    Conspiracy to make a threat regarding explosive materials in violation of 18 U.S.C. §§ 844(e) and (n)
    False Information and Hoaxes in violation of 18 U.S. C. § 1038




 Date:         08/07/2019


· City and state:      Eugene, Oregon
                                                                                           Printed name and title


                                                                Return

          This 'Yarrant was received on (date) _ _ _ _ _ _ _ , and the person          was arrested on (date)
at (city and state)


Date: - - - - - - ~ ~
                                                                                       . Arresting officer's signature



                                                                                            Printed name and title
